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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATION



Civil Action No.: 2:18-cv-00215
Name of party requesting extension: The Home Depot, Inc.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 6/6/2018
Number of days requested:                   ✔ 30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date: 7/27/2018                     (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: Nicholas G. Papastavros
            State Bar No.: BBO No. 635742
            Firm Name: DLA Piper LLP (US)
            Address: 33 Arch Street, 26th Floor
                         Boston, MA 02110-1447


            Phone: (617) 406-6000
            Fax: (617) 406-6100
            Email: nick.papastavros@dlapiper.com
                  A certificate of conference does not need to be filed with this unopposed application.
